

People v Holden (2018 NY Slip Op 08827)





People v Holden


2018 NY Slip Op 08827


Decided on December 21, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on December 21, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: WHALEN, P.J., PERADOTTO, CARNI, NEMOYER, AND WINSLOW, JJ.


1290 KA 16-00791

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vRANDALL C. HOLDEN, DEFENDANT-APPELLANT. (APPEAL NO. 1.) 






CARA A. WALDMAN, FAIRPORT, FOR DEFENDANT-APPELLANT.
JAMES B. RITTS, DISTRICT ATTORNEY, CANANDAIGUA (V. CHRISTOPHER EAGGLESTON OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Ontario County Court (Frederick G. Reed, A.J.), rendered February 10, 2016. The judgment convicted defendant, upon his plea of guilty, of driving while intoxicated, a class D felony. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Entered: December 21, 2018
Mark W. Bennett
Clerk of the Court








